Case 2:15-cr-00144-SMJ   ECF No. 580   filed 09/22/16   PageID.2541 Page 1 of 7


                                                                              FILED IN THE
                                                                          U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON



                                                                     Sep 22, 2016
                                                                         SEAN F. MCAVOY, CLERK




                             09/22/2016
                Case 2:15-cr-00144-SMJ                  ECF No. 580         filed 09/22/16         PageID.2542 Page 2 of 7
$2 %        5HY  -XGJPHQW LQ &ULPLQDO &DVH
              6KHHW  ² ,PSULVRQPHQW

                                                                                                         -XGJPHQW ² 3DJH   2       RI   7
'()(1'$17 JOSHUA J. JOHNSON
&$6( 180%(5 2:15CR00144-SMJ-5


                                                               IMPRISONMENT

       7KH GHIHQGDQW LV KHUHE\ FRPPLWWHG WR WKH FXVWRG\ RI WKH )HGHUDO %XUHDX RI 3ULVRQV WR EH LPSULVRQHG IRU D WRWDO
WHUP RI          9 months

 This total term of imprisonment reflects 9 months with respect to each of Counts 34 and 35. To be served concurrently with each other for
 a total term of imprisonment of 9 months.

 Defendant shall receive credit for time served in federal custody prior to sentencing in this matter.
     ✔ 7KH FRXUW PDNHV WKH IROORZLQJ UHFRPPHQGDWLRQV WR WKH %XUHDX RI 3ULVRQV
     G
 Defendant shall particpate in the BOP Inmate Financial Responsibility Program.
 Court recommends placement of the Defendant in the BOP Facility at Sea-Tac, Washington.


     ✔ 7KH GHIHQGDQW LV UHPDQGHG WR WKH FXVWRG\ RI WKH 8QLWHG 6WDWHV 0DUVKDO
     G

     G 7KH GHIHQGDQW VKDOO VXUUHQGHU WR WKH 8QLWHG 6WDWHV 0DUVKDO IRU WKLV GLVWULFW
          G     DW                                    G D P     G S P         RQ                                             

          G     DV QRWLILHG E\ WKH 8QLWHG 6WDWHV 0DUVKDO

     G 7KH GHIHQGDQW VKDOO VXUUHQGHU IRU VHUYLFH RI VHQWHQFH DW WKH LQVWLWXWLRQ GHVLJQDWHG E\ WKH %XUHDX RI 3ULVRQV
          G     EHIRUH  SP RQ                                            

          G     DV QRWLILHG E\ WKH 8QLWHG 6WDWHV 0DUVKDO

          G     DV QRWLILHG E\ WKH 3UREDWLRQ RU 3UHWULDO 6HUYLFHV 2IILFH


                                                                    RETURN
, KDYH H[HFXWHG WKLV MXGJPHQW DV IROORZV




          'HIHQGDQW GHOLYHUHG RQ                                                           WR

DW                                                      ZLWK D FHUWLILHG FRS\ RI WKLV MXGJPHQW



                                                                                                      81,7(' 67$7(6 0$56+$/


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                                                                                                   '(387< 81,7(' 67$7(6 0$56+$/
              Case 2:15-cr-00144-SMJ                  ECF No. 580      filed 09/22/16        PageID.2543 Page 3 of 7
$2 %      5HY  -XGJPHQW LQ D &ULPLQDO &DVH
            6KHHW  ² 6XSHUYLVHG 5HOHDVH

                                                                                                                        3               7
                                                                                                     -XGJPHQW²3DJH            RI
'()(1'$17 JOSHUA J. JOHNSON
&$6( 180%(5 2:15CR00144-SMJ-5
                                                       SUPERVISED RELEASE
8SRQ UHOHDVH IURP LPSULVRQPHQW WKH GHIHQGDQW VKDOO EH RQ VXSHUYLVHG UHOHDVH IRU D WHUP RI        3 years

 This total term of Supervised Release reflects 3 years with respect to each of Counts 34 and 35. To be served concurrently with each
 other for a total term of Supervised Release of 3 years.


7KH GHIHQGDQW PXVW FRPSO\ ZLWK WKH VWDQGDUG FRQGLWLRQV RI VXSHUYLVLRQ DV ZHOO DV ZLWK DQ\ VSHFLDO FRQGLWLRQV RI VXSHUYLVLRQ VHW IRUWK EHORZ
                                        STANDARD CONDITIONS OF SUPERVISION

      7KH GHIHQGDQW VKDOO QRW FRPPLW DQRWKHU IHGHUDO VWDWH RU ORFDO FULPH

      7KH GHIHQGDQW VKDOO QRW XQODZIXOO\ SRVVHVV D FRQWUROOHG VXEVWDQFH 7KH GHIHQGDQW VKDOO UHIUDLQ IURP DQ\ XQODZIXO XVH RI D
       FRQWUROOHG VXEVWDQFH LQFOXGLQJ PDULMXDQD ZKLFK UHPDLQV LOOHJDO XQGHU IHGHUDO ODZ 7KH GHIHQGDQW VKDOO VXEPLW WR RQH GUXJ WHVW
       ZLWKLQ  GD\V RI UHOHDVH IURP LPSULVRQPHQW DQG DW OHDVW WZR SHULRGLF GUXJ WHVWV WKHUHDIWHU DV GHWHUPLQHG E\ WKH FRXUW

          * 7KH DERYH GUXJ WHVWLQJ LV VXVSHQGHG EDVHG RQ WKH FRXUW¶V GHWHUPLQDWLRQ WKDW WKH GHIHQGDQW SRVHV D ORZ ULVN RI IXWXUH
          VXEVWDQFH DEXVH &KHFN LI DSSOLFDEOH

       ✔ 7KH GHIHQGDQW PXVW QRW RZQ SRVVHVV RU KDYH DFFHVV WR D ILUHDUP DPPXQLWLRQ GHVWUXFWLYH GHYLFH RU GDQJHURXV ZHDSRQ
      *
        LH DQ\WKLQJ WKDW ZDV GHVLJQHG RU ZDV PRGLILHG IRU WKH VSHFLILF SXUSRVH RI FDXVLQJ ERGLO\ LQMXU\ RU GHDWK WR DQRWKHU SHUVRQ
       VXFK DV QXQFKDNXV RU WDVHUV &KHFN LI DSSOLFDEOH

         ✔ 7KH GHIHQGDQW VKDOO FRRSHUDWH LQ WKH FROOHFWLRQ RI '1$ DV GLUHFWHG E\ WKH SUREDWLRQ RIILFHU &KHFN LI DSSOLFDEOH VHH 
          *
          86&  D G DOO IHORQLHV FULPHV XQGHU &K $ FULPHV RI YLROHQFH DQG DWWHPSWV RU FRQVSLUDF\ WR FRPPLW WKHVH
          FULPHV
      * 7KH GHIHQGDQW VKDOO FRPSO\ ZLWK WKH UHTXLUHPHQWV RI WKH 6H[ 2IIHQGHU 5HJLVWUDWLRQ DQG 1RWLILFDWLRQ $FW  86& 
        HW VHT DV GLUHFWHG E\ WKH SUREDWLRQ RIILFHU WKH %XUHDX RI 3ULVRQV RU DQ\ VWDWH VH[ RIIHQGHU UHJLVWUDWLRQ DJHQF\ LQ
       ZKLFK KH RU VKH UHVLGHV ZRUNV LV D VWXGHQW RU ZDV FRQYLFWHG RI D TXDOLI\LQJ RIIHQVH &KHFN LI DSSOLFDEOH

      * 7KH GHIHQGDQW VKDOO SDUWLFLSDWH LQ DQ DSSURYHG SURJUDP IRU GRPHVWLF YLROHQFH LI RQH H[LVWV ZLWKLQ D PLOH UDGLXV RI
       GHIHQGDQW¶V OHJDO UHVLGHQFH &KHFN LI DSSOLFDEOH VHH  86&   G IRU GHIHQGDQWV FRQYLFWHG RI D GRPHVWLF YLROHQFH
       FULPH GHILQHG L Q    E 

       ,I WKLV MXGJPHQW LPSRVHV UHVWLWXWLRQ D ILQH RU VSHFLDO DVVHVVPHQW LW LV D FRQGLWLRQ RI VXSHUYLVHG UHOHDVH WKDW WKH GHIHQGDQW SD\
        LQ DFFRUGDQFH ZLWK WKH 6FKHGXOH RI 3D\PHQWV VKHHW RI WKLV MXGJPHQW 7KH GHIHQGDQW VKDOO QRWLI\ WKH SUREDWLRQ RIILFHU RI DQ\
        PDWHULDO FKDQJH LQ WKH GHIHQGDQW¶V HFRQRPLF FLUFXPVWDQFHV WKDW PLJKW DIIHFW WKH GHIHQGDQW¶V DELOLW\ WR SD\ DQ\ XQSDLG DPRXQW
        RI UHVWLWXWLRQ ILQH RU VSHFLDO DVVHVVPHQWV

      7KH GHIHQGDQW PXVW UHSRUW WR WKH SUREDWLRQ RIILFH LQ WKH IHGHUDO MXGLFLDO GLVWULFW ZKHUH KH RU VKH LV DXWKRUL]HG WR UHVLGH ZLWKLQ
        KRXUV RI UHOHDVH IURP LPSULVRQPHQW XQOHVV WKH SUREDWLRQ RIILFHU WHOOV WKH GHIHQGDQW WR UHSRUW WR D GLIIHUHQW SUREDWLRQ RIILFH
       RU ZLWKLQ D GLIIHUHQW WLPH IUDPH

      $IWHU LQLWLDOO\ UHSRUWLQJ WR WKH SUREDWLRQ RIILFH WKH GHIHQGDQW ZLOO UHFHLYH LQVWUXFWLRQV IURP WKH FRXUW RU WKH SUREDWLRQ RIILFHU
       DERXW KRZ DQG ZKHQ WR UHSRUW WR WKH SUREDWLRQ RIILFHU DQG WKH GHIHQGDQW PXVW UHSRUW WR WKH SUREDWLRQ RIILFHU DV LQVWUXFWHG

     7KH GHIHQGDQW PXVW QRW NQRZLQJO\ OHDYH WKH IHGHUDO MXGLFLDO GLVWULFW ZKHUH KH RU VKH LV DXWKRUL]HG WR UHVLGH ZLWKRXW ILUVW JHWWLQJ
       SHUPLVVLRQ IURP WKH FRXUW RU WKH SUREDWLRQ RIILFHU
            Case 2:15-cr-00144-SMJ                  ECF No. 580       filed 09/22/16       PageID.2544 Page 4 of 7
$2 %    5HY  -XGJPHQW LQ D &ULPLQDO &DVH
          6KHHW $ ² 6XSHUYLVHG 5HOHDVH

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                                                                                                    -XGJPHQW²3DJH            RI
'()(1'$17 JOSHUA J. JOHNSON
&$6( 180%(5 2:15CR00144-SMJ-5

                             STANDARD CONDITIONS OF SUPERVISION &RQWLQXHG
       7KH GHIHQGDQW PXVW EH WUXWKIXO ZKHQ UHVSRQGLQJ WR WKH TXHVWLRQV DVNHG E\ WKH SUREDWLRQ RIILFHU

       7KH GHIHQGDQW PXVW OLYH DW D SODFH DSSURYHG E\ WKH SUREDWLRQ RIILFHU ,I WKH GHIHQGDQW SODQV WR FKDQJH ZKHUH KH RU VKH OLYHV
         RU DQ\WKLQJ DERXW KLV RU KHU OLYLQJ DUUDQJHPHQWV VXFK DV WKH SHRSOH WKH GHIHQGDQW OLYHV ZLWK  WKH GHIHQGDQW PXVW QRWLI\ WKH
         SUREDWLRQ RIILFHU DW OHDVW  FDOHQGDU GD\V EHIRUH WKH FKDQJH ,I QRWLI\LQJ WKH SUREDWLRQ RIILFHU LQ DGYDQFH LV QRW SRVVLEOH GXH
         WR XQDQWLFLSDWHG FLUFXPVWDQFHV WKH GHIHQGDQW PXVW QRWLI\ WKH SUREDWLRQ RIILFHU ZLWKLQ  KRXUV RI EHFRPLQJ DZDUH RI D
         FKDQJH RU H[SHFWHG FKDQJH

       7KH GHIHQGDQW PXVW DOORZ WKH SUREDWLRQ RIILFHU WR YLVLW WKH GHIHQGDQW DW UHDVRQDEOH WLPHV DW KLV RU KHU KRPH RU HOVHZKHUH DQG
         WKH GHIHQGDQW PXVW SHUPLW WKH SUREDWLRQ RIILFHU WR WDNH DQ\ LWHPV SURKLELWHG E\ WKH FRQGLWLRQV RI WKH GHIHQGDQW¶V VXSHUYLVLRQ
         WKDW KH RU VKH REVHUYHV LQ SODLQ YLHZ

       7KH GHIHQGDQW PXVW ZRUN IXOO WLPH DW OHDVW  KRXUV SHU ZHHN DW D ODZIXO W\SH RI HPSOR\PHQW XQOHVV WKH SUREDWLRQ RIILFHU
         H[FXVHV WKH GHIHQGDQW IURP GRLQJ VR ,I WKH GHIHQGDQW GRHV QRW KDYH IXOOWLPH HPSOR\PHQW KH RU VKH PXVW WU\ WR ILQG IXOOWLPH
         HPSOR\PHQW XQOHVV WKH SUREDWLRQ RIILFHU H[FXVHV WKH GHIHQGDQW IURP GRLQJ VR ,I WKH GHIHQGDQW SODQV WR FKDQJH ZKHUH WKH
         GHIHQGDQW ZRUNV RU DQ\WKLQJ DERXW KLV RU KHU ZRUN VXFK DV WKH SRVLWLRQ RU WKH MRE UHVSRQVLELOLWLHV  WKH GHIHQGDQW PXVW QRWLI\
         WKH SUREDWLRQ RIILFHU DW OHDVW  FDOHQGDU GD\V EHIRUH WKH FKDQJH ,I QRWLI\LQJ WKH SUREDWLRQ RIILFHU LQ DGYDQFH LV QRW SRVVLEOH
         GXH WR XQDQWLFLSDWHG FLUFXPVWDQFHV WKH GHIHQGDQW PXVW QRWLI\ WKH SUREDWLRQ RIILFHU ZLWKLQ  KRXUV RI EHFRPLQJ DZDUH RI D
         FKDQJH RU H[SHFWHG FKDQJH

       7KH GHIHQGDQW PXVW QRW FRPPXQLFDWH RU LQWHUDFW ZLWK VRPHRQH WKH GHIHQGDQW NQRZV LV HQJDJHG LQ FULPLQDO DFWLYLW\ ,I WKH
         GHIHQGDQW NQRZV VRPHRQH KDV EHHQ FRQYLFWHG RI D IHORQ\ WKH GHIHQGDQW PXVW QRW NQRZLQJO\ FRPPXQLFDWH RU LQWHUDFW ZLWK
         WKDW SHUVRQ ZLWKRXW ILUVW JHWWLQJ WKH SHUPLVVLRQ RI WKH SUREDWLRQ RIILFHU

       ,I WKH GHIHQGDQW LV DUUHVWHG RU KDV DQ\ RIILFLDO FRQWDFW ZLWK D ODZ HQIRUFHPHQW RIILFHU LQ D FLYLO RU FULPLQDO LQYHVWLJDWLYH
         FDSDFLW\ WKH GHIHQGDQW PXVW QRWLI\ WKH SUREDWLRQ RIILFHU ZLWKLQ  KRXUV

       7KH GHIHQGDQW PXVW QRW DFW RU PDNH DQ\ DJUHHPHQW ZLWK D ODZ HQIRUFHPHQW DJHQF\ WR DFW DV D FRQILGHQWLDO KXPDQ VRXUFH RU
         LQIRUPDQW ZLWKRXW ILUVW JHWWLQJ WKH SHUPLVVLRQ RI WKH FRXUW

       7KH GHIHQGDQW PXVW IROORZ WKH LQVWUXFWLRQV RI WKH SUREDWLRQ RIILFHU UHODWHG WR WKH FRQGLWLRQV RI VXSHUYLVLRQ
            Case 2:15-cr-00144-SMJ                   ECF No. 580       filed 09/22/16        PageID.2545 Page 5 of 7
$2 %     5HY  -XGJPHQW LQ D &ULPLQDO &DVH
           6KHHW ' ² 6XSHUYLVHG 5HOHDVH
                                                                                                      -XGJPHQW²3DJH      5     RI       7
'()(1'$17 JOSHUA J. JOHNSON
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                                        SPECIAL CONDITIONS OF SUPERVISION

 19) The defendant shall complete a mental health evaluation and follow any treatment recommendations of the evaluating professional
 which do not require forced or psychotropic medication and/or inpatient confinement, absent further order of the court. The defendant
 shall allow reciprocal release of information between the supervising officer and treatment provider. The defendant shall contribute to
 the cost of treatment according to his ability to pay.

 20) The defendant shall undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter into and
 successfully complete an approved substance abuse treatment program, which could include inpatient treatment and aftercare upon
 further order of the court. The defendant shall contribute to the cost of treatment according to his ability to pay. The defendant shall
 allow full reciprocal disclosure between the supervising officer and treatment provider.

 21) The defendant shall participate in a vocational services program as directed by the supervising officer. Such programs may include
 job readiness training and skills development training.

 22) The defendant shall abstain from the use of illegal controlled substances, and shall submit to urinalysis and sweat patch testing, as
 directed by the supervising officer, but no more than 6 tests per month, in order to confirm continued abstinence from these substances.

 23) The defendant shall not open, possess, use, or otherwise have access to any checking account, ATM card, or credit card, without
 the advance approval of the supervising officer.

 24) The defendant shall provide the supervising officer with access to any requested financial information, including authorization to
 conduct credit checks and obtain copies of your federal income tax returns. The defendant shall disclose all assets and liabilities to the
 supervising officer. The defendant shall not transfer, sell, give away, or otherwise convey any asset, without the advance approval of
 the supervising officer.

 25) The defendant shall reside in a residential reentry center (RRC) for a period up to 180 days. The defendant shall abide by the rules
 and requirements of the facility and shall participate in programs offered by the facility at the direction of the supervising officer.

 26) The defendant shall submit his/her person, residence, office, vehicle and belongings to a search, conducted by a probation officer,
 at a sensible time and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision.
 Failure to submit to search may be grounds for revocation. The defendant shall warn persons with whom he/she shares a residence that
 the premises may be subject to search.
             Case 2:15-cr-00144-SMJ                  ECF No. 580         filed 09/22/16        PageID.2546 Page 6 of 7
$2 %     5HY  -XGJPHQW LQ D &ULPLQDO &DVH
           6KHHW  ² &ULPLQDO 0RQHWDU\ 3HQDOWLHV
                                                                                                   -XGJPHQW ² 3DJH      6      RI         7
'()(1'$17 JOSHUA J. JOHNSON
&$6( 180%(5 2:15CR00144-SMJ-5
                                              CRIMINAL MONETARY PENALTIES
     7KH GHIHQGDQW PXVW SD\ WKH WRWDO FULPLQDO PRQHWDU\ SHQDOWLHV XQGHU WKH VFKHGXOH RI SD\PHQWV RQ 6KHHW 

                      Assessment                                      Fine                                Restitution
TOTALS                $200.00                                 `       $0.00                               $865.62


G 7KH GHWHUPLQDWLRQ RI UHVWLWXWLRQ LV GHIHUUHG XQWLO               $Q Amended Judgment in a Criminal Case $2 & ZLOO EH HQWHUHG
    DIWHU VXFK GHWHUPLQDWLRQ

✔ 7KH GHIHQGDQW PXVW PDNH UHVWLWXWLRQ LQFOXGLQJ FRPPXQLW\ UHVWLWXWLRQ WR WKH IROORZLQJ SD\HHV LQ WKH DPRXQW OLVWHG EHORZ
G
    ,I WKH GHIHQGDQW PDNHV D SDUWLDO SD\PHQW HDFK SD\HH VKDOO UHFHLYH DQ DSSUR[LPDWHO\ SURSRUWLRQHG SD\PHQW XQOHVV VSHFLILHG RWKHUZLVH LQ
    WKH SULRULW\ RUGHU RU SHUFHQWDJH SD\PHQW FROXPQ EHORZ +RZHYHU SXUVXDQW WR  86&   L  DOO QRQIHGHUDO YLFWLPV PXVW EH SDLG
    EHIRUH WKH 8QLWHG 6WDWHV LV SDLG

Name of Payee                                                         Total Loss*         Restitution Ordered        Priority or Percentage

  Banner Bank                                                                   $865.62                   $865.62




TOTALS                                                  865.62                               865.62


G     5HVWLWXWLRQ DPRXQW RUGHUHG SXUVXDQW WR SOHD DJUHHPHQW 

G     7KH GHIHQGDQW PXVW SD\ LQWHUHVW RQ UHVWLWXWLRQ DQG D ILQH RI PRUH WKDQ  XQOHVV WKH UHVWLWXWLRQ RU ILQH LV SDLG LQ IXOO EHIRUH WKH
      ILIWHHQWK GD\ DIWHU WKH GDWH RI WKH MXGJPHQW SXUVXDQW WR  86&   I  $OO RI WKH SD\PHQW RSWLRQV RQ 6KHHW  PD\ EH VXEMHFW
      WR SHQDOWLHV IRU GHOLQTXHQF\ DQG GHIDXOW SXUVXDQW WR  86&   J 

✔
G     7KH FRXUW GHWHUPLQHG WKDW WKH GHIHQGDQW GRHV QRW KDYH WKH DELOLW\ WR SD\ LQWHUHVW DQG LW LV RUGHUHG WKDW

      ✔ WKH LQWHUHVW UHTXLUHPHQW LV ZDLYHG IRU WKH G ILQH G
      G                                                   ✔ UHVWLWXWLRQ
      G WKH LQWHUHVW UHTXLUHPHQW IRU WKH G ILQH G UHVWLWXWLRQ LV PRGLILHG DV IROORZV


 )LQGLQJV IRU WKH WRWDO DPRXQW RI ORVVHV DUH UHTXLUHG XQGHU&KDSWHUV $  $ DQG $ RI 7LWOH  IRU RIIHQVHV FRPPLWWHG RQ RU DIWHU
6HSWHPEHU   EXW EHIRUH $SULO  
              Case 2:15-cr-00144-SMJ                   ECF No. 580         filed 09/22/16    PageID.2547 Page 7 of 7
$2 %      5HY  -XGJPHQW LQ D &ULPLQDO &DVH
            6KHHW  ² 6FKHGXOH RI 3D\PHQWV

                                                                                                      -XGJPHQW ² 3DJH    7     RI          7
'()(1'$17 JOSHUA J. JOHNSON
&$6( 180%(5 2:15CR00144-SMJ-5

                                                       SCHEDULE OF PAYMENTS

+DYLQJ DVVHVVHG WKH GHIHQGDQW¶V DELOLW\ WR SD\ SD\PHQW RI WKH WRWDO FULPLQDO PRQHWDU\ SHQDOWLHV DUH GXH DV IROORZV

A    G     /XPS VXP SD\PHQW RI                              GXH LPPHGLDWHO\ EDODQFH GXH

           G      QRW ODWHU WKDQ                                  RU
           G      LQ DFFRUGDQFH          G &         G '   G     ( RU    G ) EHORZ RU
B    ✔ 3D\PHQW WR EHJLQ LPPHGLDWHO\ PD\ EH FRPELQHG ZLWK
     G                                                                     G &    G ' RU    ✔) EHORZ  RU
                                                                                              G
C    G     3D\PHQW LQ HTXDO                    HJ ZHHNO\ PRQWKO\ TXDUWHUO\ LQVWDOOPHQWV RI                        RYHU D SHULRG RI
                        HJ PRQWKV RU \HDUV  WR FRPPHQFH                  HJ  RU  GD\V DIWHU WKH GDWH RI WKLV MXGJPHQW RU

D    G     3D\PHQW LQ HTXDO                     HJ ZHHNO\ PRQWKO\ TXDUWHUO\ LQVWDOOPHQWV RI                      RYHU D SHULRG RI
                         HJ PRQWKV RU \HDUV  WR FRPPHQFH                  HJ  RU  GD\V DIWHU UHOHDVH IURP LPSULVRQPHQW WR D
           WHUP RI VXSHUYLVLRQ RU

E    G     3D\PHQW GXULQJ WKH WHUP RI VXSHUYLVHG UHOHDVH ZLOO FRPPHQFH ZLWKLQ                  HJ  RU  GD\V DIWHU UHOHDVH IURP
           LPSULVRQPHQW 7KH FRXUW ZLOO VHW WKH SD\PHQW SODQ EDVHG RQ DQ DVVHVVPHQW RI WKH GHIHQGDQW¶V DELOLW\ WR SD\ DW WKDW WLPH RU

F    ✔ 6SHFLDO LQVWUXFWLRQV UHJDUGLQJ WKH SD\PHQW RI FULPLQDO PRQHWDU\ SHQDOWLHV
     G
     Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of incarceration, monetary
     penalties are payable on a quarterly basis of not less than $25.00 per quarter.

     While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the
     defendant's net household income, whichever is less, commencing 30 days after the defendant is released from imprisonment.


8QOHVV WKH FRXUW KDV H[SUHVVO\ RUGHUHG RWKHUZLVH LI WKLV MXGJPHQW LPSRVHV LPSULVRQPHQW SD\PHQW RI FULPLQDO PRQHWDU\ SHQDOWLHV LV GXH
GXULQJ LPSULVRQPHQW $OO FULPLQDO PRQHWDU\ SHQDOWLHV H[FHSW WKRVH SD\PHQWV PDGH WKURXJK WKH )HGHUDO %XUHDX RI 3ULVRQV¶ ,QPDWH )LQDQFLDO
5HVSRQVLELOLW\ 3URJUDP DUH PDGH WR WKH IROORZLQJ DGGUHVV XQWLO PRQHWDU\ SHQDOWLHV DUH SDLG LQ IXOO &OHUN 86 'LVWULFW &RXUW $WWHQWLRQ
)LQDQFH 32 %R[  6SRNDQH :$ 

7KH GHIHQGDQW VKDOO UHFHLYH FUHGLW IRU DOO SD\PHQWV SUHYLRXVO\ PDGH WRZDUG DQ\ FULPLQDO PRQHWDU\ SHQDOWLHV LPSRVHG

✔ -RLQW DQG 6HYHUDO
G
     'HIHQGDQW DQG &R'HIHQGDQWV 1DPHV DQG &DVH 1XPEHUV LQFOXGLQJ GHIHQGDQW QXPEHU  7RWDO $PRXQW -RLQW DQG 6HYHUDO $PRXQW
     DQG FRUUHVSRQGLQJ SD\HH LI DSSURSULDWH
          Melissa C. Clark 2:15-CR-144-SMJ-02                    $865.62           $865.62    Banner Bank
          Darin Dykhouse 2:15-CR-144-SMJ-01                      $865.62           $865.62    Banner Bank


G    7KH GHIHQGDQW VKDOO SD\ WKH FRVW RI SURVHFXWLRQ

G    7KH GHIHQGDQW VKDOO SD\ WKH IROORZLQJ FRXUW FRVW V 

G    7KH GHIHQGDQW VKDOO IRUIHLW WKH GHIHQGDQW¶V LQWHUHVW LQ WKH IROORZLQJ SURSHUW\ WR WKH 8QLWHG 6WDWHV




3D\PHQWV VKDOO EH DSSOLHG LQ WKH IROORZLQJ RUGHU  DVVHVVPHQW  UHVWLWXWLRQ SULQFLSDO  UHVWLWXWLRQ LQWHUHVW  ILQH SULQFLSDO
  ILQH LQWHUHVW  FRPPXQLW\ UHVWLWXWLRQ  SHQDOWLHV DQG  FRVWV LQFOXGLQJ FRVW RI SURVHFXWLRQ DQG FRXUW FRVWV
